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                          United States District Court
                                               Western District of Wisconsin
                   UNITED STATES OF AMERICA                              AM ENDED JUDGM ENT IN A CRIM INAL CASE
                                                                           (for offenses committed on or after November 1, 1987)
                                                                                          RE-SENTENCING

                                   V.                                             Case Number:            08-CR-100-C-09

                             W ILLIAM BRYANT                             Defendant's Attorney:            Toni Laitsch




The defendant, W illiam Bryant, pleaded guilty to count 1 of the superseding indictm ent.


ACCORDINGLY, the court has adjudicated defendant guilty of the following offense(s):
                                                                                                       Date Offense            Count
Title & Section                         Nature of Offense                                              Concluded             Num ber(s)
21 U.S.C. § 846                         Conspiracy to Possess W ith Intent to Distribute Five          June 19, 2008             1
                                        Kilogram s or More of a Mixture or Substance
                                        Containing Cocaine, a Schedule II Controlled
                                        Substance, in violation of 21 U.S.C. § 841(a)(1), a
                                        Class A felony.


The defendant is sentenced as provided in pages 2 through 6 of this judgm ent. The sentence is im posed pursuant to the
Sentencing Reform Act of 1984.


IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district w ithin 30 days
of any change of nam e, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgm ent are fully paid. If ordered to pay restitution, the defendant shall notify the court and United
States Attorney of any material change in the defendant’s econom ic circum stances.




  Defendant's Date of Birth:               December 3, 1974                                               February 4, 2009
                                                                                                   Date of Imposition of Judgment
  Defendant's USM No.:                     06677-090

  Defendant's Residence Address:           c/o Amy Hunter (sister)
                                           131 Mauldin Street
                                           Baxley, GA 31513                                                 /s/ Barbara B. Crabb
                                                                                                          Barbara B. Crabb
  Defendant's Mailing Address:             c/o Bureau of Prisons
                                                                                                           District Judge

                                                                                                          February 9, 2009
                                                                                                             Date Signed:
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                                                 IMPRISONMENT
As to count one of the indictm ent, it is ordered that the judgm ent entered on Decem ber 1, 2008, is am ended to provide that
defendant is to be com m itted to the custody of the Bureau of Prisons for a term of 37 m onths.

In all other respects, the judgm ent will rem ain as entered on Decem ber 1, 2008.

I recom m end that defendant be afforded the opportunity to participate in substance abuse education and treatm ent
program s as well as vocational training while confined and that he be afforded a pre-release placem ent in a residential re-
entry center with work release privileges.




                                                          RETURN
          I have executed this judgment as follow s:




          Defendant delivered on                                    to

at                                 , with a certified copy of this judgm ent.




                                                                                  UNITED STATES MARSHAL
                                                        By
                                                                                       Deputy Marshal
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                                             SUPERVISED RELEASE
The term of im prisonm ent is to be followed by a five-year term of supervised release.

Defendant shall report to the probation office in the district to which defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.

Defendant shall not com m it another federal, state, or local crim e.

Defendant shall not illegally possess a controlled substance.

If defendant has been convicted of a felony, defendant shall not possess a firearm , destructive device, or other dangerous
weapon while on supervised release.

Defendant shall cooperate with the collection of DNA by the U.S. Justice Departm ent and/or the U.S. Probation and
Pretrial Services Office as required by Public Law 108-405.

If this judgm ent im poses a fine or a restitution obligation, it shall be a condition of supervised release that defendant pay
any such fine or restitution that rem ains unpaid at the com m encem ent of the term of supervised release in accordance
with the Schedule of Paym ents set forth in the Financial Penalties sheet of this judgm ent.

Defendant shall com ply with the standard conditions that have been adopted by this court (set forth on the next page).

In light of the nature of the offense and defendant’s use of controlled substances and his m ental health problem s, the
following special conditions are appropriate. Defendant is to:

1.        Register with local law enforcem ent agencies and the state attorney general as directed by the supervising U.S.
          probation officer;

2.        Provide the supervising U.S. probation officer any and all requested financial inform ation, including copies of his
          state and federal tax returns;

3.        Subm it his person, property, residence, office or vehicle to a search conducted by a U.S. probation officer at a
          reasonable tim e and in a reasonable m anner whenever the probation officer has reasonable suspicion of
          contraband or of the violation of a condition of release; failure to subm it to a search m ay be a ground for
          revocation; defendant shall warn any other residents that the prem ises he is occupying m ay be subject to
          searches pursuant to this condition;

4.        Abstain from the use of illegal drugs and alcohol and from association with drug users and sellers and participate
          in substance abuse treatm ent. Defendant shall subm it to drug testing beginning within 15 days of his release and
          60 drug tests annually thereafter. The probation office m ay utilize the Adm inistrative Office of the U.S. Courts’
          phased collection process;

5.        Not participate in any form of gam bling, including the lottery, or patronize any gam bling facilities; defendant shall
          participate in a gam bling addiction program or individual counseling, as approved by the supervising U.S.
          probation officer;
6.        Participate in m ental health referral, assessm ent and treatm ent as approved by the supervising U.S. probation
          officer and com ply with all rules, regulations and recom m endations of the m ental health agency or its
          representative to the extent approved by the supervising U.S. probation officer. Defendant shall take any
          prescribed m edications as directed by a licensed m edical provider. Defendant shall be required to obtain his own
          funding for services; and

7.        Pay court ordered child support obligations.
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                                  STANDARD CONDITIONS OF SUPERVISION
    1)   Defendant shall not leave the judicial district without the perm ission of the court or probation officer;

    2)   Defendant shall report to the probation officer as directed by the court or probation officer and shall subm it a
         truthful and com plete written report within the first five days of each m onth;

    3)   Defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
         officer;

    4)   Defendant shall support his or her dependents and m eet other fam ily responsibilities;

    5)   Defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling,
         training, or other acceptable reasons;

    6)   Defendant shall notify the probation officer at least ten days prior to any change in residence or em ploym ent;

    7)   Defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute or
         adm inister any narcotic or other controlled substance, or any paraphernalia related to such substances except as
         prescribed by a physician;

    8)   Defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
         adm inistered;

    9)   Defendant shall not associate with any persons engaged in crim inal activity, and shall not associate with any
         person convicted of a felony unless granted perm ission to do so by the probation officer;

  10)    Defendant shall perm it a probation officer to visit him or her at any tim e at hom e or elsewhere and shall perm it
         confiscation of any contraband observed in plain view by the probation officer;

  11)    Defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
         enforcem ent officer;

  12)    Defendant shall not enter into any agreem ent to act as an inform er or a special agent of a law enforcem ent
         agency without the perm ission of the court;

  13)    As directed by the probation officer, defendant shall notify third parties of risks that m ay be occasioned by
         defendant's crim inal record or personal history or characteristics, and shall perm it the probation officer to m ake
         such notifications and to confirm defendant's com pliance with such notification requirem ent.
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                                    CRIMINAL MONETARY PENALTIES
Defendant shall pay the following total financial penalties in accordance with the schedule of paym ents set forth below.


                           Count     Assessment              Fine                  Restitution

                              1      $100.00                 $0.00                 $0.00

                            Total    $100.00                 $0.00                 $0.00



It is adjudged that defendant is to pay a $100 crim inal assessm ent penalty to the Clerk of Court for the W estern District of
W isconsin im m ediately following sentencing.

Defendant does not have the m eans to pay a fine under § 5E1.2(c) without im pairing his ability to support him self upon
release.
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                                         SCHEDULE OF PAYMENTS
Paym ents shall be applied in the following order:
                                                       (1) assessm ent;
                                                       (2) restitution;
                                                       (3) fine principal;
                                                       (4) cost of prosecution;
                                                       (5) interest;
                                                       (6) penalties.


The total fine and other m onetary penalties shall be due in full im m ediately unless otherwise stated elsewhere.




Unless the court has expressly ordered otherwise in the special instructions above, if the judgm ent im poses a period of
im prisonm ent, paym ent of m onetary penalties shall be due during the period of im prisonm ent. All crim inal m onetary
penalties, except those paym ents m ade through the Federal Bureau of Prisons’ Inm ate Financial Responsibility Program ,
are m ade to the clerk of court, unless otherwise directed by the court, the probation officer, or the United States Attorney.

The defendant shall receive credit for all paym ents previously m ade toward any crim inal m onetary penalties im posed.

In the event of a civil settlem ent between victim and defendant, defendant m ust provide evidence of such paym ents or
settlem ent to the Court, U.S. Probation office, and U.S. Attorney’s office so that defendant’s account can be credited.
